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EXHIBIT 1

 
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LIORSE CLONING CONTRACT

This Horse Cloning Contract ("Agreement") is entered into between Adolfo Cambiaso
(OQwner") and Crestview Farm, LLC. a Texas limited liability company ("Crestview"), for the
purposes and consideration set forth hereinbelow.

WHEREAS, Owner is the owner of certain mares and also owns full rights to the tissue of
Aiken Curral, a deceased stallion, which tissue is currently in cryogenic stasis;

WHEREAS, Crestview is currently involved in the use of advanced biotechnologies in the
vloning of horses,

WHEREAS, Owner and Crestview wish to enter into an arrangement for the purpose of jointly
producing, marketing and selling cloned animals,

WHEREAS, in furtherance of the foregoing, Owner is willing to provide tissue from certain
niares and from Aiken Currah in accordance with the terms and conditions set forth hereinbelow.

NOW, THEREFORE, in consideration of the payment of Ten Dollars ($10.00) and other gand
and valuable consideration, including the mutual covenants and agreements set forth herein, the parties
hereby agree as follows:

1. Mare Cloning. Owner agrees to allaw Crestview to select four mares {rom Owner's
stock for the purpose of extracting tissue samples for cloning, Cresiview's selections to be subject to the
reasonable approval of Owner. Upon sulcetiun of the mares, Crestview will pay Owner the sum of
USS230.(00 per mare. If the mares ure successfully cloned, Owner will in addition receive anc foal
clone from each mare. As part of the consideration provided to Owner, Owner agrees 10, and docs
hereby, yram Crestview complete and exclusive licensing nghts in and to the mare and all cloned foals.

2, Aiken Currah Option, At the option and request of Crestview, and in lieu of one of the
mares chosen in Paragraph | herein, Owner agrees to provide the eryogenically maintained tissue
samples of Aiken Currah to Cresiview, Upon delivery of same to Crestview (at its expense), Crestview
will canse its scientists to determine whether the ussne is viable for cloning. [f the tissue is determined
to be viable for cloning, Crestview will pay Owner an additional sum of US5150,000 within ten (10)
days after the date that Crestview's scientists have determined that the Aiken Currah tissue is viable for
cloning. If derermined not to be viable for cloning, Crestview sill cause all unused tissue samples fo be
returned to Owner at Cresiview's expense. If Aiken Currah is successfully cloned, Owner shall also
reecive one foal clone of Aiken Curral and fifty percent (50%) of the net proceeds of all sales of all such
clones.

3 Further Cooperation. Upon the successful production of one or more clones, Owner anc
Crestview agree to negotiate in good faith to establish a mutually acceptable program providing for the
endorsement and marketing of clones and Crestview's cloning program. Pending any such agreement
Crestview shall be endiled to identify the name of the original animal and Owner to potential
purchasers.
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4, Salo of Clones. Upon the successful production of clones, Owner will use ts
commercially reasonable best efforts to market the first three clones of each cloned aninzal for sale with
Owner's client base or athers, with a minimum sales price of USS250,000. Owner and Crestview will
jointly determine all final sales prices and terms.

3. Number of Clones. Crestview agrees to clone approximately ten (10) “Hinited first
edition” clones trom each mare and Aiken Currah, if cloned, {f Crestview determines it wishes to clone
a “limited second edition.” Owner and Crestview will mutually so agree..

é. Extuaction and Use of Tissue. Crestview will cause the mare tissues samples to be
extracted andor analyzed under veterinary supervision and in accordance with prudent, customary and
accepted veterinary practice so as not to endanger the health of any such mare or, lo the extent
practicable, the unused portions of the tissue of Aiken Cursh. Owner agrees to allow Crestview
reasonable access to the mares for obtaining such sumples an more than one occasion if necessary to
obtain such samples.

 

i, Cloning Expenses. Crestview agrees to pay all fees incurred or charged by ils scientists
and consultants, without cost or obligation io Owner.

&. No Warranties, Neither party to Uris Avreement makes any warranties or representations
to the other regarding the Ussue samples or the likelihood of success of the cloning program to be
undertaken hereunder, Accordingly, should the cloning program be unsuccessful, neither party will
have any further lability or obligation to the other. Crestview further reserves the right to terminate the
cloning program at any time in its sole and absolute discretion without further liability or obligation to
Owner.

 

ae Counterparts. This Agreement may be executed in any number of counterparts, and may
be exchanged hetween the parties by fresimile, electronic mail, or similar means. An electronically
iransinitted, fully executed copy of this Contract shall be valid as an original.

  
    

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CRESTVIEW:

CRESTVIEW FARM, L.L.C.,
a Texas limited liability company

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Db. Alan Mecker
Manager

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From: Gutierrez Ernesto [mailto:EGutierrez@aa2000.com.ar]
Sent; Monday, March 14, 2011 8:20 AM

To: Alan Meeker

Subject:

Dear Alan,

Sory about the delay , but you was a visionary. | start a world war againt my wife.
As we spoke days ago, | agree in the final cost of production for the clones in USD 2.150.000. -

About the payment of the due balance,

Cash USD 550.000.-
60 days USD 250.000.-
120 days USD 200.000.-

During the first two years, you take 100% of the total net income for Crestview Arg. operations. (I agree
on Adolfito’s Portion).

In case this doesn't pay your favor for USD 1.150.000.-, | will take care for the difference. Its important
for you to know that I'm willing to guarantee at all times, the total amount by means of any instrument
you should consider convenient.

| 've already paid off the start up costs for around USD 400.000.- | will be supporting these too, by
myself.

if you are on board with this propousal, we must find the best way to do it.

Abrazos
Ernesto
